      Case: 1:18-cv-04563 Document #: 7 Filed: 08/08/18 Page 1 of 2 PageID #:17



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                             :
GEORGE MOORE,                                :
                                             :
       Plaintiff,                            :     Case No. 1:18-cv-04563
                                             :
v.                                           :
                                             :
HIGHER HOMECARE LLC d/b/a                    :
RIGHTCARE FOUNDATION,                        :
                                             :
       Defendant.                            :
                                             :
                                             /

     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff George

Moore hereby voluntarily dismisses the above-captioned action without prejudice against

defendant Higher Homecare LLC d/b/a/ RightCare Foundation. This notice is being filed before

service by Defendant of either an answer or a motion for summary judgment.



DATED: August 8, 2018                        By: /s/ George Moore
                                                 Pro Se

                                             George Moore
                                             906 Chatham Drive
                                             Carol Stream, IL 60188
                                             Email: gmoore3@att.net
                                             Telephone: (630) 699-3205
      Case: 1:18-cv-04563 Document #: 7 Filed: 08/08/18 Page 2 of 2 PageID #:18



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Notice Of

Voluntary Dismissal Pursuant To F.R.C.P. 41(a)(1)(A)(i) was served upon the Defendant in a

sealed envelope placed in the United States mail, postage prepaid, and addressed to the following

party on this 8th day of August, 2018:

       Higher Homecare LLC
       c/o Registered Agent
       Simon Markus
       8128 Lawndale Ave
       Skokie, IL 60076


                                             /s/ George Moore




                                               2
